Case 21-03000-sgj Doc 13-26 Filed 01/09/21   Entered 01/09/21 18:45:04   Page 1 of 26




                               EXHIBIT Z
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                        Entered 01/09/21 18:45:04                                                Page 2 of 26


                                                                                                                                                                           EXECUTION COPY




                                                                         SERVICING                        AGREEMENT


                              This Servicing                   Agreement                   dated     as    of November                  30     2006      is   entered        into    by and            among
 GRAYSON CLO                     LTD              an     exempted            company               incorporated              under         the    laws of the Cayman                       Islands       with

 its   registered        office       located           at    the offices             of Ogier Fiduciary                     Services          Cayman            Limited           P.O Box 1234

 Queensgate            House South                  Church            Street          George         Town                Cayman Cayman Islands together with
                                                                                                                      Grand

 successors             and        assigns                   permitted                hereunder                 the   Issuer       and     HIGHLAND       CAPITAL
 MANAGEMENT                        L.P             Delaware            limited              partnership           with       its
                                                                                                                         principal   offices located at Two Galleria

 Tower       13455          Noel    Road               Suite     1300 Dallas                   Texas           75240        as     servicer         Highland               or in such capacity
 the    Servicer

                                                                                            WITNESSETH

                              WHEREAS                        the Issuer          and        GRAYSON               CLO CORP                        the   Co-Issuer and                 together           with

 the Issuer           the   Co-Issuers                   intend        to    issue          U.S.$1015000000                         of    their     Class     A-la         Floating            Rate    Senior

 Secured         Extendable Notes                       due     2021         the           Class A-i              Notes                 U.S.$1 11500000                    of their Class                A-lb

 Floating       Rate        Senior         Secured            Extendable Notes                     due     2021        the Class A-lb Notes and                                   together        with the

 Class     A-la        Notes          the        Class A-i             Notes                  U.S.$68000000                        of     their     Class      A-2 Floating                    Rate    Senior

  Secured       Extendable Notes                        due    2021         the Class A-2 Notes and                                     together        with the Class               A-i Notes the

 Class            Notes             U.S.$72000000                           of   their        Class             Floating           Rate        Senior        Secured         Deferrable               Interest

 Extendable Notes                  due       2021                   Class                  Notes          and     U.S.$75000000                         of   their    Class           Floating           Rate
                                                         the
  Senior    Secured           Deferrable                Interest       Extendable Notes                         due    2021         the       Class            Notes and              together           with

 the     Class          Notes         and        the     Class              Notes            the     Senior Notes                       and       the   Issuer       will     individually               issue

 U.S.$3     1000000              of    its    Class              Floating             Rate     Senior           Secured          Deferrable             Interest      Extendable Notes                       due

 2021      the        Class            Notes and                 together             with     the       Senior        Notes            the    Notes           pursuant to the Indenture
 dated     as    of November                     30 2006 the Indenture among the Co-Issuers                                                              and     Investors           Bank                Trust

 Company              as trustee           the    Trustee and 52500 Class Preference Shares                                                              $0.01       par     value         the        Class
 Preference           Shares               and     75000            Class        II    Preference              Shares            $0.01        par    value      the        Class          II    Preference

  Shares        and      together           with the Class                   Preference               Shares           the       Preference             Shares        and         together        with the

 Notes      the       Securities                 pursuant        to    the Preference                 Share Documents



                              WHEREAS                         the     Issuer               intends        to     pledge            certain          Collateral         Obligations                    Eligible

  Investments           and      Cash        all        as    defined        in       the     Indenture               and     certain         other      assets      all     as     set        forth    in   the


  Indenture           collectively               the     Collateral                   to    the Trustee          as security              for the       Notes


                              WHEREAS                        the Issuer          wishes         to   enter       into       this    Servicing           Agreement             pursuant            to   which

  the Servicer                        to                       on     behalf          of the Issuer              certain         duties        with respect           to    the    Collateral           in the
                        agrees               perform
  manner        and    on the terms               set    forth      herein            and



                              WHEREAS                        the Servicer              has     the capacity             to    provide          the services           required        hereby and               is




 prepared        to    perform such services                        upon         the terms           and       conditions           set    forth     herein




  OHS West2601         11005.6
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                      Entered 01/09/21 18:45:04                                                         Page 3 of 26




                            NOW           THEREFORE                          in    consideration                 of the           mutual            agreements                 herein           set    forth          the

  parties hereto       agree       as    follows



                                          Definitions



                            Terms        used        herein            and        not      defined            below          shall        have           the      meanings             set        forth        in     the

  Indenture


                            Advisers           Act         shall       mean         the     Investment Advisers Act of 1940 as amended



                            Agreement                 shall       mean         this       Servicing            Agreement                  as    amended             from time              to     time



                            Governing                 Instruments                     shall            mean          the         memorandum                       articles           or      certificate               of

                       or    association             and                            if     applicable                in    the     case        of          corporation                the       certificate            of
  incorporation                                                 by-laws
  formation       if   applicable          or the              partnership            agreement                 in    the        case     of         partnership                or    the         certificate          of

                                                                                                                                                    in                         of         limited
  formation       if   applicable or the limited                               liability           company agreement                                       the     case                                   liability


  company


                            HFP           shall       mean           collectively                  Highland               Financial             Partners            L.P and                any         subsidiary

  thereof



                            Independent                   Advisor                 shall       have            the     meaning                  specified            in     Section           IV.B          of         the

  Collateral   Acquisition               Agreement


                            Offering           Memorandum                           shall         mean          the        Offering            Memorandum                       of the            Issuer        dated

  November 28 2006                 prepared           in connection                 with the offering                       of the Securities



                            Servicer           Breaches                shall      have        the      meaning             specified           in   Section          10a

                            Special        Procedures                  Obligation                 shall       have        the     meaning            specified            in    Section            IV.A of            the

  Collateral   Acquisition               Agreement


                                          General Duties                     of the Servicer


                                                               The     Servicer           shall        provide services                   to    the Issuer           as    follows



                                                                               Subject            to    and     in        accordance                with the terms the Indenture                                     and

                                                               the Servicer                                                and     direct the administration                                                         and
                            this   Agreement                                              shall        supervise                                                                           acquisition

                            disposition           of the Collateral                        and         shall    perform            on     behalf           of the Issuer               those           duties        and

                            obligations           of the Servicer                    required            by the Indenture                       and        this    Agreement                    and     including

                            the    furnishing             of orders               requests             and    officers            certificates              and      such certifications                        as are

                                           of the Servicer                   under          the Indenture                  with respect               to    permitted            purchases              and         sales
                            required

                            of the Collateral                                               Eligible            Investments                and           other     assets           and      other        matters
                                                                 Obligations
                            and     to    the extent                                    or appropriate                to                        such duties               the Servicer                 shall        have
                                                                 necessary                                                  perform
                            the                      to        execute            and       deliver            all                               and           appropriate                documents                  and
                                    power                                                                                 necessary

                            instruments              on behalf           of the Issuer                  with respect thereto                         The       Servicer          shall          subject         to    the

                            terms        and      conditions                 of     this      Agreement                    and      the        Indenture              perform               its
                                                                                                                                                                                                      obligations

                            hereunder and                  thereunder              with reasonable                        care    and      in    good          faith      using              degree        of        skill


                            and     attention             no    less    than        that      which           the     Servicer            exercises               with respect               to       comparable
                            assets that              services           or                         for others             having similar objectives                             and       restrictions               and
                                                it
                                                                             manages
                            in      manner           consistent              with practices                    and        procedures followed                        by        institutional             servicers




  OHS West2601     11005.6                                                                              -2-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                       Entered 01/09/21 18:45:04                                                          Page 4 of 26




                       or    managers                  of national             standing              relating             to        assets       of the           nature          and      character           of the

                       Collateral                for    clients          having            similar              objectives                 and           restrictions              except           as    expressly

                       provided              otherwise                 in     this        Agreement                     andlor                the        Indenture                  To        the        extent        not

                       inconsistent               with the foregoing                           the Servicer               shall           follow          its
                                                                                                                                                                 customary standards policies
                       and     procedures                in    performing                 its    duties         under           the Indenture                    and        hereunder            The        Servicer

                       shall      comply               with       all       terms         and        conditions                 of the           Indenture               affecting             the       duties        and

                       functions             to    be     performed                  hereunder                  The        Servicer                  shall       not    be        bound        to     follow           any
                       amendment                  to    the Indenture                    until       it    has      received               written             notice        thereof          and     until       it   has

                       received                  copy    of the amendment from the Issuer                                                  or the         Trustee            provided           however                that

                       the     Servicer           shall not            be bound             by any           amendment                        to the Indenture                   that     affects         the rights

                                                                   or        duties        of the           Servicer                unless           the       Servicer           shall       have        consented
                       powers           obligations

                       thereto         in        writing             The       Issuer            agrees            that        it    shall       not       permit            any        amendment              to      the

                       Indenture             that               affects             the    rights            powers                 obligations                  or    duties           of the       Servicer            or

                               affects           the    amount          or priority of any                         fees        payable              to    the    Servicer           to    become           effective

                       unless         the Servicer              has         been     given prior written                             notice          of such           amendment and consented
                       thereto        in     writing


                                                         ii                  the     Servicer              shall        select                       Collateral             which        shall       be    acquired
                                                                                                                                          any

                       by    the Issuer            pursuant             to    the Indenture                  in    accordance                   with the Eligibility Criteria



                                                                             the Servicer                  shall        monitor               the Collateral                on    an ongoing              basis        and
                                                         iii

                       provide         to        the Issuer          all      reports            certificates              schedules                     and     other       data       with respect              to    the

                       Collateral            which         the Issuer               is   required            to    prepare                and    deliver          under           the Indenture             and        any

                       Hedge          Agreement                   in     the        form         and       containing                 all       information                 required           thereby        and        in


                       reasonable                time for the Issuer                      to     review such required                                                  certificates             schedules              and
                                                                                                                                                     reports

                       data     and         to    deliver         them         to    the parties entitled                            thereto             under        the    Indenture               the Servicer

                       shall     undertake                to    determine                 to     the       extent         reasonably                     practicable              whether                 Collateral

                       Obligation                has    become                 Defaulted                  Collateral                Obligation                  and    the Servicer             shall       monitor

                       any      Hedge             Agreements                  and        direct        the      Trustee              on        behalf of the Issuer                        in respect             of    all


                       actions         to    be taken          thereunder                 by     the Issuer




                                                         iv                  the     Servicer               subject            to    and        in       accordance              with the provisions                     of

                       the Indenture                   may      at     any     time        permitted               under            the       Indenture               and    shall       when        required           by
                       the     Indenture                direct the Trustee                      to           dispose                of        Collateral              Obligation Equity                     Security

                       or Eligible               Investment or other                       securities received                            in respect             thereof          in    the    open       market or

                       otherwise                        acquire             as security              for the            Notes            in    substitution                 for or in         addition        to       any

                       one     or     more         Collateral            Obligations                 or Eligible                Investments included                               in    the Collateral                one

                       or    more       substitute             Collateral                Obligations               or Eligible                  Investments                  or          direct the Trustee

                       to      take         the        following              actions            with                                to              Collateral              Obligation              or     Eligible
                                                                                                                respect

                       Investment



                                                                                                retain       such Collateral                         Obligation              or Eligible             Investment

                                       or



                                                                                                if     applicable                    tender               such         Collateral              Obligation                or

                                       Eligible           Investment pursuant                              to     an Offer or


                                                                                                if     applicable                    consent               to
                                                                                                                                                                  any        proposed                amendment
                                       modification                  or      waiver pursuant                       to   an Offer or




  OHS West2601   11005.6                                                                             -3-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                              Entered 01/09/21 18:45:04                                                    Page 5 of 26




                                                                                                     retain         or        dispose            of    any         securities         or        other        property

                                            if other than                 Cash            received           pursuant                 to   an Offer or



                                                                                                     waive              any           default         with          respect          to     any             Defaulted

                                            Collateral              Obligation or


                                                                                                     vote          to      accelerate                 the        maturity            of     any             Defaulted

                                            Collateral              Obligation or


                                                                                                     exercise                         other         rights       or     remedies           with            respect              to
                                                                                                                          any
                                            such         Collateral                 Obligation               or         Eligible            Investment                as    provided            in        the        related

                                            Underlying                   Instruments                   including              in      connection with any                      workout               situations              or

                                            take                 other             action       consistent               with the terms                    of the Indenture                 which               is    in    the
                                                        any
                                            best        interests         of the Holders of the Securities



                                                                                   subject           to    and     in     accordance                  with the terms                of the Indenture                       and

                             this    Agreement                 the Servicer                    on behalf of the Issuer                            shall      determine whether                        to    enter          into

                                                                                                                                             reduce         the notional             amounts               of existing
                             any additional                  hedging               arrangements                   increase             or

                             Hedge         Agreements                    or    terminate                  existing        Hedge             Agreements and                     the      Servicer             shall         use

                             its    reasonable               efforts          to    cause the Issuer                       promptly                 following           the early          termination                     of

                             Hedge         Agreement                 other than                 on          Redemption                     Date        and     to     the extent           possible              through

                             application               of funds           received              as         result        of the early termination                            including               the     proceeds
                             of the                                 of any               collateral                                        the      hedge        counterparty                   to        enter       into
                                           liquidation                                                       pledged                by

                             replacement Hedge                           Agreement


                                                                                                                                                                              which
                                                               vi                  the        Servicer           shall        on      or prior        to    any day                        is         Redemption

                             Date         direct the Trustee                       to    enter       into contracts                   to   dispose         of the Collateral                Obligations                    and

                                                                                                       the Indenture                   and       otherwise                           with       all
                             any other            Collateral              pursuant             to                                                                     comply                              redemption
                                                                                                                          in the Indenture                    in order               allow the Trustee
                             procedures and                   certification                                                                                                    to                                               to
                                                                                              requirements

                             effect       such redemption                          and



                                                               vii                  if    the        Servicer                 on       behalf          of     the          Issuer         desires            to        make
                             distributions              of Eligible                 Equity           Securities            on         any     Payment Date pursuant                             to    Section              2e
                             of the Preference                         Shares            Paying            Agency              Agreement                   the      Servicer          shall          so     notify          the

                             Trustee             and     the        Preference                  Shares            Paying              Agent           and      provide            the      Trustee               and        the

                             Preference            Shares           Paying Agent                       for forwarding                       to    each      Holder of the Preference                                 Shares

                             with respect                     the                                Record                                           of such Eligible                   Equity           Securities                in
                                                        to               applicable                                Date             details


                             accordance                with the procedure                           set     forth        in     Section           3b        of the Preference                    Shares              Paying

                             Agency Agreement


                                                               In    performing                  its      duties        hereunder the Servicer                             shall     seek       to    preserve              the

  value      of the Collateral              for the benefit                    of the Holders of the Securities                                            taking       into    account              the collateral

  criteria      and    limitations         set    forth herein                and        in    the Indenture                  and        the Servicer            shall      use     reasonable               efforts            to


  select     and       service      the    Collateral                     such                            that     will       permit                                performance              of       all    payment
                                                                    in                        way                                                   timely

  obligations          by the Issuer             under        the      Indenture                provided                 that       the     Servicer          shall not        be responsible                        if    such

  objectives          are not    achieved          so long             as the Servicer                     performs             its    duties         under      this      Agreement                 in    the    manner

  provided         for   herein       and        provided              further            that       there        shall       be no          recourse         to      the Servicer              with respect                    to


  the    Notes        or the Preference                Shares             The           Servicer           and     the Issuer               shall      take      such other           action              and        furnish

  such certificates              opinions         and        other       documents                   as     may be            reasonably              requested             by the other                  party      hereto

  in    order    to    effectuate         the     purposes               of    this       Agreement                 and        to     facilitate           compliance               with applicable                        laws

  and     regulations        and     the terms           of    this       Agreement




  OHS West2601         11005.6                                                                              -4-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                   Entered 01/09/21 18:45:04                                                         Page 6 of 26




                                                                      The        Servicer         hereby agrees                        to    the    following


                                                                                        The       Servicer              agrees               not    to       institute          against             or join           any        other

                               Person            in    instituting               against          the    Issuer              or the Co-Issuer                          any bankruptcy                        reorganization

                               arrangement                        insolvency                  moratorium                     or    liquidation                proceedings                   or      other       proceedings
                               under        federal              or   state        bankruptcy or similar laws of any jurisdiction                                                           until       at    least      one     year

                               and     one            day         or        if     longer         any        applicable                     preference                 period        plus         one        day         after     the

                               payment                in    full      of     all    Notes         issued       under              the        Indenture             provided                however              that      nothing

                               in    this    clause                    shall        preclude            or    be        deemed               to    estop the Servicer                                   from taking               any
                               action        prior           to      the      expiration            of such              period              in                         case    or        proceeding                voluntarily
                                                                                                                                                             any
                               filed        or    commenced                        by     the      Issuer          or        the        Co-Issuer                 as     the    case         may         be         or            any

                               involuntary                   insolvency                   proceeding                    filed           or        commenced                    against            the        Issuer         or     the

                               Co-Issuer                   as      the       case         may      be         by                  Person           other          than         the        Servicer             or                from

                               commencing                       against            the     Issuer        or    the           Co-Issuer              or       any        properties               of the        Issuer       or     the

                               Co-Issuer                   any        legal         action        which            is        not             bankruptcy                      reorganization                    arrangement

                               insolvency                   moratorium                    liquidation           or similar                   proceeding


                                                                      ii The              Servicer            shall           cause           each        sale          or     purchase             of any            Collateral

                               Obligations                  or Eligible              Investment to be conducted                                         on    an arms-length                      basis



                                                                      iii The             Servicer            shall           notifi          the       Trustee              the     Share          Registrar             and      the

                               Holding            Share              Registrar            of any Affiliate                        of the           Servicer             that    owns         the     Securities              or the

                               Holding            Preference                     Shares



                                                                      iv         The      Servicer            and/or              its       Affiliates             other            than     HFP              will       purchase
                               Class                  Notes            having            an    aggregate                 principal                 amount              equal         to     U.S.$       16000000                   the

                               Servicer           and/or              its    Affiliates           other        than           HFP             will       purchase              Holding            Preferences               Shares

                               having            an                                Face       Amount           equal              to    U.S.$20000000                           and        the    Servicer            and/or        its
                                                           aggregate

                               Affiliates              will        purchase              Class      II    Preferences                        Shares          having            an    aggregate
                                                                                                                                                                                                              Face        Amount

                               equal        to    U.S.$75000000


                                                                      The          Servicer         shall          not            act       for     the       Issuer           in
                                                                                                                                                                                     any         capacity             except        as

  provided       in     this        Section                     In     providing               services            hereunder                      the     Servicer             may          employ             third parties

  including      its    Affiliates               to    render           advice           including             advice              with respect                   to    the servicing                of the Collateral

  and     assistance        provided                  however                that      the Servicer             shall not                   be relieved                of any of           its    duties        or    liabilities


  hereunder regardless                      of the performance                                of any         services                  by    third parties                     Notwithstanding                                   other
                                                                                                                                                                                                                      any

  provision      of    this      Agreement                   the Servicer                 shall     not       be required                    to    take      any action              required           of     it
                                                                                                                                                                                                                    pursuant        to


  this    Agreement           or the Indenture                        if    such action            would           constitute                      violation            of any law



                                                                      Notwithstanding                    any        other              provision             of    this       Agreement              or the           Indenture

         any granted          signatory               powers            or authority               granted              to    the       Servicer             on    behalf           of the Issuer               with respect

  to     the   Special         Procedures                   Obligations                   shall     be        conditioned                                    the        prior        written            approval            of the
                                                                                                                                              upon
  Independent           Advisor         and           ii     neither             the Servicer            nor any Affiliate of the Servicer                                               shall    have         any       authority

  to   enter   into     agreements                    or take          any action              on behalf of the Issuer                                  with respect                to     the Special              Procedures

  Obligations          without         the prior written                         approval          of the Independent                              Advisor




  OHS west26o1         11005.6                                                                                -5-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                     Entered 01/09/21 18:45:04                                                             Page 7 of 26




                                                        Brokerage



                                   The        Servicer               shall       seek        to    obtain          the best           prices           and      execution               for     all       orders         placed        with

  respect        to    the Collateral                        considering              all     reasonable                 circumstances                       Subject              to    the    objective               of obtaining

  best prices              and     execution                 the Servicer               may          take         into consideration                         research             and     other           brokerage services
  furnished            to    the      Servicer            or    its       Affiliates          by brokers                  and      dealers             which           are not Affiliates                          of the Servicer

  Such      services              may         be     used            by    the       Servicer             or      its    Affiliates               in    connection                     with     its       other        servicing            or

  advisory            activities             or     operations                  The        Servicer               may         aggregate                sales         and        purchase                 orders        of securities

  placed     with respect                     to    the        Collateral             with similar orders                             being made                     simultaneously                       for       other    accounts

  serviced            or    managed               by     Servicer               or   with         accounts              of the Affiliates                      of the Servicer                           if   in the        Servicers

  reasonable               judgment            such aggregation                         shall        result        in    an overall economic                               benefit        to    the Issuer                taking           into

  consideration                  the    advantageous                       selling         or     purchase              price         brokerage commission                                    and         other        expenses             In

  the event           that         sale       or    purchase               of        Collateral              Obligation                or Eligible                Investment in accordance                                      with the

  terms of the Indenture                                 occurs            as    part        of any           aggregate               sales        or     purchase                 orders            the       objective             of the

  Servicer        and any of                  its       Affiliates           involved              in     such transactions                        shall        be     to       allocate        the executions                    among
  the     accounts           in    an        equitable               manner           and         consistent             with         its
                                                                                                                                              obligations               hereunder and                         under         applicable

  law


                                   In    addition               to    the foregoing                  and          subject       to     the provisions                       of Section                    and       the limitations

  of Section                 the objective                    of obtaining              best prices                and        execution                and     to     the extent              permitted              by applicable

  law                                                   on                      of the Issuer                                                                                                  and        all      of the Eligible
           the    Servicer              may                    behalf                                          direct         the      Trustee            to      acquire              any
  Investments                or    other          Collateral              from          or    sell      Collateral              Obligations                  or      other         Collateral                 to    the   Placement

  Agents         the Trustee                 or     any of           their      respective              Affiliates             or     any other firm


                                                        Additional               Activities             of the Servicer



                                   Nothing               herein           shall      prevent            the       Servicer            or                of     its     Affiliates             from engaging                     in    other
                                                                                                                                              any
  businesses or from                          rendering               services             of any            kind        to    the     Trustee               the       Holders            of the Securities                       or       any
  other    Person            or entity             to the extent                 permitted              by applicable                  law Without                      prejudice              to     the generality                  of the

  foregoing                the     Servicer              and         partners              directors              officers             employees                     and        agents         of the              Servicer           or    its



  Affiliates          may among                     other           things        and      subject           to    any        limits specified                    in    the       Indenture



                                                                           serve        as    directors             whether                 supervisory                 or      managing                      officers       partners

  employees                 agents nominees                          or signatories                 for      any        issuer        of any obligations                           included              in the Collateral                   or

  their    respective               Affiliates                 to    the extent              permitted               by       their     Governing                    Instruments                    as    from time              to       time

  amended              or    by any           resolutions                  duly adopted                   by the Issuer                     its   Affiliates               or     any     issuer          of any obligations

  included             in     the        Collateral                  or      their         respective                   Affiliates                pursuant              to        their        respective                 Governing

  Instruments                provided                   that        in the        reasonable               judgment                 of the Servicer                          such        activity              shall      not     have

  material        adverse              effect       on any item                   of Collateral or the                        ability         of the Issuer                  to    comply             with each             Collateral

  Quality        Test            provided               further            that      nothing            in    this       paragraph                shall        be deemed                 to    limit the duties                      of the

  Servicer        set       forth       in    Section                 hereof


                                                                           receive           fees         for      services            of any             nature            rendered                to    the        issuer       of any

  obligations               included               in    the         Collateral              or    their          respective                Affiliates                provided                that        in       the    reasonable

  judgment             of the Servicer                       such activity                 shall        not       have          material               adverse             effect        on    any item of Collateral
  or the     ability          of the Issuer                    to    comply           with each                Collateral              Quality            Test          and        provided                further        that       if    any

  portion        of such               services              are      related         to      the     purchase                by      the         Issuer        of any             obligations                     included          in    the

  Collateral               the portion              of such               fees relating              to      such                                   shall        be     applied           to    the           purchase          price        of
                                                                                                                         obligations

  such obligations                     and




  OHS West2601              11005.6                                                                                     -6-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                       Entered 01/09/21 18:45:04                                                          Page 8 of 26




                                                                      be           secured               or    unsecured                 creditor            of     or     hold        an equity                interest         in the

  Issuer      its    Affiliates                or                 issuer          of any            obligation              included                in     the      Collateral                   provided                that    in       the
                                                  any
  reasonable         judgment                 of the Servicer                      such activity                    shall not            have            material              adverse            effect       on               item        of
                                                                                                                                                                                                                      any
  Collateral        or the         ability            of the Issuer                to    comply               with        each        Collateral              Quality            Test         provided               further              that

  nothing      in    this      paragraph               shall       be deemed                  to    limit the duties                     of the Servicer                   set       forth in Section                      hereof


                                It      is     understood               that        the         Servicer             and                     of              Affiliates                                             in               other
                                                                                                                                 any               its
                                                                                                                                                                                     may          engage                  any
  business          and        furnish           servicing                 investment                    management                         and     advisory               services               to     others            including

  Persons      which           may           have      policies            similar            to    those          followed              by the Servicer                       with respect                   to the Collateral

  and    which       may own                  securities           of the same                  class          or   which             are the          same        type         as the Collateral                    Obligations

  or other     securities             of the issuers of Collateral Obligations The                                                            Servicer             shall        be free           in    its    sole       discretion

  to   make recommendations                                 to    others           or effect             transactions                 on behalf              of    itself        or for          others         which           may be
  the   same     as or different                    from those               effected              with respect                  to    the Collateral



                                Unless the Servicer                                determines in                    its    reasonable                  judgment                 that    such           purchase            or    sale       is



  appropriate            the Servicer                 may         refrain          from         directing            the       purchase                or sale      hereunder of securities issued by

        Persons          of which             the      Servicer              its    Affiliates                or    any     of        its    or   their       officers               directors           or     employees                 are

  directors         or    officers              ii         Persons            for        which            the       Servicer                or     its    Affiliate              act        as    financial               adviser           or

  underwriter                  iii Persons                   about         which                                                                                                             information
                         or                                                                the          Servicer          or      any of           its    Affiliates             have                                     which           the

  Servicer       deems          confidential                     or non-public                     or    otherwise               might            prohibit          it    from         trading           such        securities             in


  accordance             with      applicable                law The                Servicer              shall not              be     obligated             to    pursue any                    particular              strategy          or

  opportunity            with respect                 to    the Collateral



                                                      Conflicts            of Interest



                                                                      The          Servicer              shall       not       direct         the        Trustee           to    acquire            an        obligation             to    be

  included       in the Collateral                         from the Servicer                        or    any of           its    Affiliates              as principal                 or    to    sell       an obligation                 to


  the Servicer            or    any of          its    Affiliates             as principal                 unless                 the Issuer               shall         have        received            from the Servicer

  such information                   relating          to        such acquisition                       or sale as          it
                                                                                                                                  may        reasonably                  require        and        shall        have       approved
  such acquisition                 which              approval          shall           not     be unreasonably withheld                                      ii in            the     judgment                of the Servicer

  such     transaction             is    on      terms           no   less         favorable              than        would be                obtained              in          transaction               conducted               on       an
  arms      length        basis         between             third parties unaffiliated                               with each                other        and      iii such transaction                             is
                                                                                                                                                                                                                           permitted

  by the Advisers Act


                                                                      The          Servicer              shall       not       direct         the        Trustee           to    acquire            an        obligation             to    be

  included       in the Collateral                         directly        from          any account                  or portfolio                 for       which         the Servicer                  serves           as servicer

  or    investment             adviser           or        direct the             Trustee           to    sell       an    obligation                  directly           to    any     account                or portfolio                for

  which      the     Servicer                serves         as    servicer              or investment                     adviser            unless          such         acquisition               or     sale      is          in the

 judgment           of the Servicer                    on terms no                  less        favorable             than        would           be obtained                   in      transaction               conducted                on

  an arms        length         basis          between             third parties unaffiliated                               with each                  other       and         ii permitted                   by the Advisers
  Act


                                                                      The           Servicer              shall           not         undertake               any          transaction                  described               in        this


  Section           unless         such transaction                     is
                                                                              exempt               from the prohibited                            transaction              rules        of       ERISA           and       the   Code
  In    addition          after         the     initial           distribution                of the           Class                  Notes            and     the        Preference                   Shares            neither          the

  Servicer      nor any of               its     affiliates           as      defined              in    the       Plan Asset Regulation                                 shall       acquire           any Class                 Notes

  or Preference             Shares            including               pursuant             to      the    Extension                   Procedure              or the        Amendment Buy-Out                                    Option
  unless     such acquisition                       would         not        as    determined by the Trustee                                      in     reliance          on representations                        made         in      the

  applicable         transfer                certificates             or     other            investor              agreement                 with        respect              thereto            or    deemed             made            by
  holders      thereof          result          in
                                                       persons             that     have           represented                 that         they       are    Benefit            Plan Investors                     owning            25%
  or   more of       the aggregate                    outstanding                  amount               of any of the Class                              Notes           the Class                Preference               Shares           or




  OHS West2601            1005.6                                                                                    -7-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                  Entered 01/09/21 18:45:04                                                              Page 9 of 26




  the Class           II   Preference               Shares          immediately                 after       such acquisition                      determined                      in   accordance                  with Section

  342       of       ERISA              the     Plan Asset Regulation                                the        Indenture             and        the        Preference                 Share         Documents                            The

  Class          Notes            and        the Preference                  Shares        held         as principal               by the Servicer                       or       any of       its       affiliates               shall      be

  disregarded               and        shall       not    be     treated           as     outstanding                  for                             of determining                     compliance                    with            such
                                                                                                                                 purposes
  25%      limitation to the extent                           that     such person has represented                                      that     it    is    not        Benefit           Plan Investor



                                                      Records              Confidentiality



                                   The         Servicer          shall       maintain appropriate                            books          of account                 and        records           relating            to    services

                           hereunder                and       such      books             of account                 and        records          shall           be     accessible              for        inspection                   by
  performed

  representative                 of the Issuer                  the     Trustee            the       Collateral              Administrator                        the    Holders of the                       Securities                   and

  the                                  accountants                                            the Issuer                                    to    the Indenture                    at         mutually agreed                           time
          Independent                                           appointed by                                           pursuant

  during        normal business                      hours and                          not        less    than        three       Business                 Days         prior          notice             At no         time           shall
                                                                            upon
  the Servicer              make               public         announcement                    concerning                   the issuance                of the Notes                    or the Preference                           Shares

  the     Servicers              role    hereunder or any other aspect                                         of the transactions                          contemplated by                        this    Agreement                       and

  the     Indenture              The         Servicer          shall       keep         confidential                 any        and     all      information                  obtained              in     connection                   with

  the services              rendered hereunder and                                shall    not       disclose              any     such information                          to    non-affiliated                   third parties


  except              with the prior written                           consent            of the Issuer                    ii such          information                  as either             Rating Agency                            shall


                                              in    connection               with         the                        of any           class       of Securities                        iii as required                            by      law
  reasonably               request                                                                  rating

  regulation               court        order         or the          rules       or    regulations                  of any           self regulating                    organization                      body         or         official


  having jurisdiction                        over     the      Servicer             iv        to    its
                                                                                                           professional                 advisers                        such           information                 as   shall           have

  been     publicly              disclosed            other         than     in    violation              of    this       Agreement                   or    vi        such        information                  that         was        or    is



  obtained                                               on                                                basis provided                        that       the       Servicer           does not know                            or    have
                     by the Servicer                                  non-confidential

                      know         of any breach                                                                                                                                       with respect                thereto                 For
  reason        to                                                  by such            source           of any confidentiality                              obligations

                      of    this        Section                the     Trustee             the      Collateral               Administrator                       and     the       Holders               of the          Securities
  purposes
  shall    in    no event              be considered                  non-affiliated                    third     parties



                                   Notwithstanding                         anything                in     this        Agreement                  or         the       Indenture               to        the        contrary                 the

  Servicer            the    Co-Issuers                  the Trustee              and     the       Holders of the Securities                                    and     the beneficial                    owners                 thereof
           each            of their respective                                                                                                                               may                                                   and       all
  and                                                                 employees               representatives                      or      other            agents                      disclose              to    any

  Persons            without            limitation            of any         kind         the       U.S         tax    treatment                and         U.S        tax    structure              of the transactions

  contemplated by                       this       Agreement               and      all   materials              of any kind including opinions  or other tax analyses

  that    are        provided            to     them       relating           to    such           U.S         tax treatment and U.S tax structure   as such terms  are

  defined        under U.S                   federal          state     or local          tax      law


                                                      Obligations                of Servicer



                                   Unless             otherwise               specifically                  required              by                       provision              of      the           Indenture                  or      this
                                                                                                                                            any
                           or                                  law         the Servicer                           use             best reasonable                       efforts          to ensure              that         no     action
  Agreement                      by     applicable                                                      shall               its



  is    taken         by     it        and      shall         not      intentionally                or     with            reckless         disregard                  take        any        action            which               would

         materially              adversely              affect        the     Issuer          or the           Co-Issuer              for     purposes                 of Cayman                   Islands          law            United

  States        federal           or    state       law or any               other        law known                   to    the       Servicer              to    be    applicable                 to     the      Issuer           or      the

  Co-Issuer                       not be           permitted            under           the     Issuers or the                     Co-Issuers                    respective              governing                  instruments

         violate                   law         rule      or regulation                 of any                                           body          or                      having jurisdiction                             over          the
                           any                                                                          governmental                                         agency
  Issuer        or the Co-Issuer                      including              without           limitation                  any    Cayman                   Islands       or United                 States          federal                state


  or    other        applicable               securities            law the violation                      of which               has      or    could reasonably                         be        expected                 to     have

  material           adverse           effect       on    the Issuer               the Co-Issuer                  or       any     of the Collateral                                   require          registration                   of the

  Issuer         the        Co-Issuer               or    the         pooi        of Collateral                  as        an     investment                      company                 under            the          Investment

                           Act                cause       the       Issuer         or     the       Co-Issuer                     violate             the        terms        of the           Indenture                 including
  Company                                                                                                                   to


  without            limitation               any representations                       made by                the Issuer             or    Co-Issuer                  therein           or    any         other        agreement

  contemplated                   by     the        Indenture            or              would             subject          the     Issuer             to    U.S         federal           or       state      net       income                or




  OHS West2601               1005.6                                                                              -8-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                    Entered 01/09/21 18:45:04                                                                 Page 10 of 26




   franchise          taxation             The         Servicer           covenants                 that       it   shall       comply                in     all      material           respects               with          all    laws and

  regulations           applicable               to    it    in    connection with the performance                                               of        its    duties       under           this       Agreement                       and        the

  Indenture            Notwithstanding                           anything           in    this      Agreement                   to    the       contrary the Servicer                               shall             not      be required

   to   take            action            under        this       Agreement                or the Indenture                          if    such action                  would        violate                                                        law
                any                                                                                                                                                                                       any applicable
  rule     regulation               or court          order



                                                      Compensation


                                                                         The        Issuer              shall                        to     the            Servicer                for      services                    rendered                    and
                                                                                                                      pay
  performance                 of    its    obligations              under           this       Agreement                      the Servicing                      Fee which                shall           be       payable in such
  amounts         and         at    such        times        as    set    forth          in    the       Indenture                   The        provisions                  of the Indenture                          which          relate           to


  the    amount            and      payment                of the Servicing                        Fee        shall       not        be     amended                    without           the    written               consent                  of the

   Servicer           If   on any          Payment                Date     there           are insufficient                        funds        to    pay             the Servicing              Fee and/or                         any         other

  amounts         due         and        payable            to    the    Servicer                  in    full the             amount             not        so        paid    shall       be     deferred                   and          shall       be

  payable         with         accrued               interest        on        such           later                                Date         on        which             funds         are       available                  therefor               as
                                                                                                         Payment

  provided        in    the        Indenture



                                    The         Servicer            hereby               agrees          to         waive          the      Class                II    Preference               Share                 Portion              of the

   Servicing           Fees         deposited               by     the    Trustee              into        the        Class          II    Preference                   Share            Special               Payment               Account

  pursuant        to       the      Indenture               which         would            otherwise                be      payable             to     the Servicer                  as     Servicing                   Fees on each
  Payment         Date         during           the     first      two    years            following                the     Closing Date                         After       the    two-year                   anniversary                     of the

  Closing        Date          the        Servicer           may          in    its      sole        discretion                 at    any        time            waive        the        Class           II     Preference                     Share

  Portion        of     its
                                   Servicing            Fees then              due         and          payable               in     which            event            an     amount            equal              to     such            waived

  portion       will       be paid by the Issuer as Class                                     II    Preference                 Share Special                      Payments               pursuant to the Indenture
  For                         of any calculation  under this Agreement                                                        and         the    Indenture                  the     Servicer                  shall     be      deemed                to
         purposes
  have     received            the Servicing   Fee in an amount equal                                                    to    the        sum of             the       Servicing            Fee          actually              paid            to    the

  Servicer        and       the      amount            distributed             to     the      Holders of the Class                              II   Preference                  Shares         as Class                II     Preference

  Share Special                Payments


                                    In     addition               notwithstanding                          anything                set      out           above              the     Servicer                   may            in        its        sole

  discretion                   waive           all    or    any portion                  of the Servicing                      Fee any                funds            representing                 the        waived               Servicing

  Fees     to    be     retained               in the            Collection              Account               for     distribution                   as         either       Interest          Proceeds                      or    Principal

  Proceeds            as determined by                            the    Servicer                  pursuant            to      the        Priority            of Payments                      or     ii           defer           all     or       any
  portion        of the Servicing                  Fee any funds                                                              the         deferred                                   Fees           to        be      retained                 in    the
                                                                  representing                                                                                   Servicing

  Collection           Account                 when they will become payable                                                  in     the     same             manner              and     priority                 as    their           original

  characterization                  would            have        required           unless          deferred             again


                                                                         The    Servicer                 shall        be      responsible                    for the          ordinary              expenses                   incurred               in

  the    performance                 of    its
                                                     obligations           under              this      Agreement                    and        the       Indenture                provided                    however               that           any
  extraordinary                expenses                actually            incurred                 by        the        Servicer               in        the          performance                  of          such           obligations

  including             but        not     limited           to     any        fees expenses                        or other              amounts                payable            to    the       Rating Agencies                                  the

  Collateral           Administrator                        the     Trustee                and          the     accountants                     appointed                    by     the        Issuer                 the       reasonable

  expenses            incurred             by    the        Servicer           to        employ               outside              lawyers            or         consultants              reasonably                      necessary                   in


  connection            with         the       evaluation                transfer             or restructuring                       of any           Collateral                  Obligations                    or     other            unusual

  matters       arising            in the        performance                   of    its      duties          under           this        Agreement                    and    the        Indenture                    any reasonable

  expenses            incurred            by    the Servicer              in    obtaining                  advice           from outside                     counsel           with respect                      to     its
                                                                                                                                                                                                                               obligations

  under        this    Agreement                     brokerage commissions                                     transfer              fees registration                        costs         taxes              and       other            similar

  costs    and        transaction              related                              and        fees arising                   out of transactions                           effected           for the             Issuers account
                                                                 expenses
  and     the     portion            allocated              to     the    Issuer              of any           other           fees        and                                that        the       Servicer                  customarily
                                                                                                                                                      expenses
  allocates           among          all       of the funds               or        portfolios                that     it     services               or     manages                 shall       be            reimbursed                   by        the




  OHS West2601          11005.6                                                                                      -9-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                       Entered 01/09/21 18:45:04                                                                 Page 11 of 26




  Issuer     to       the extent             funds        are available                     therefor           in     accordance               with and                subject             to    the priority                of payments

  and    the other               limitations             contained                in   the       Indenture



                                                                         If       this        Agreement                 is       terminated                 pursuant                 to     Section              12        Section        14       or

  otherwise                 the    fees       payable            to     the        Servicer              shall        be     prorated             for        any           partial         periods               between            Payment
  Dates     during               which        this       Agreement                 was           in effect            and    shall      be due              and        payable on                     the    first      Payment               Date

  following                the     date      of such            termination                   and        on                 subsequent                 Payment                   Dates           to        the     extent         remaining
                                                                                                                 any
  unpaid and                in    accordance              with         and        to     the extent              provided              in the Indenture


                                                         Benefit        of the Agreement



                                       The        Servicer          agrees             that      its
                                                                                                        obligations               hereunder                 shall          be    enforceable                     at    the instance                of

  the    Issuer             the    Trustee               on     behalf        of the Noteholders                                 or    the     requisite                   percentage                 of Noteholders                     or     the

  Holders             of the           Preference               Shares             as       applicable                as     provided             in        the       Indenture                 or     the       Preference               Share

  Paying Agency Agreement                                       as applicable



                                       10                Limits        of Servicer                  Responsibility                     Indemnification


                                                                         The           Servicer            assumes no                  responsibility                       under          this       Agreement                   other       than

  to    render         the        services          called          for      hereunder and                          under        the    terms of the Indenture                                         made           applicable              to    it



  pursuant            to    the     terms of             this    Agreement                    in    good         faith       and        subject             to    the standard                   of        liability         described             in


  the    next         sentence               shall       not     be      responsible                     for     any        action       of the Issuer                          or     the       Trustee              in    following              or

  declining            to    follow           any advice                recommendation                              or direction               of the Servicer                             The        Servicer              its    directors

  officers            stockholders                                                               and      employees                    and     its        Affiliates                 and        their         directors             officers
                                                        partners             agents

  stockholders                                                        and     employees                       shall     not      be     liable         to    the Issuer                    the    Co-Issuer                  the      Trustee
                                 partners           agents

  the    Preference                 Shares          Paying Agent                         the       Holders of the Securities                                      or       any       other        person               for      any      losses

  claims         damages judgments                               assessments                       costs         or other         liabilities               collectively                        Liabilities                     incurred           by
  the Issuer               the     Co-Issuer              the    Trustee               the Preference                      Shares       Paying Agent the Holders of the Securities                                                                 or

  any     other            person         that          arise out            of or          in    connection                 with the performance                                    by the            Servicer              of    its    duties

  under     this           Agreement                and       the     Indenture                  except          by reason              of             acts           or    omissions constituting                                 bad     faith

  willful     misconduct                                  negligence                   or     breach           of fiduciary             duty         in     the       performance                          or reckless             disregard
                                              gross
  of the obligations                      of the Servicer                                                                                                              ii with
                                                                             hereunder and                      under        the Indenture                       or                        respect            to      any information
  included             in     the       Offering              Memorandum                           in    the        sections           entitled              The             Servicer                  and         Risk           Factors

  Relating            to     Certain              Conflicts           of InterestThe                             Issuer          Will        Be      Subject                to   Various                   Conflicts              of Interest

  Involving                the     Servicer               and       information                    in the           Offering            Memorandum                              relating              to    the       Servicer            Letter

  Disclosure                that    contain             any untrue                statement              of material              fact       or omits                 to    state           material               fact      necessary             in


  order     to    make             the statements                   therein              in      the     light        of the circumstances                             under              which            they       were        made          not

  misleading                 the        preceding               clauses                       and        ii         collectively               being             the        Servicer                   Breaches                       For       the

  avoidance                of doubt               the    Servicer            shall          have        no      duty        to   independently                         investigate               any         laws not otherwise

  known          to    it   in     connection with                     its    obligations                 under         this      Agreement                      and       the   Indenture                       The       Servicer           shall


  be    liable        for        any      non-waivable                  breaches                 of applicable                   securities             laws               The         Servicer              shall         be deemed               to


  have      satisfied              Section              7f      and          the       requirements                    of the          Indenture                  and        this         Agreement                    relating          to     not

  causing         the        Issuer          to    be     treated            as    engaged               in           trade       or    business                 in    the       United               States          for    U.S         federal

  income          tax        purposes               including                 as       those           requirements                   relate       to        the       acquisition                    including                 manner             of

  acquisition                    ownership                enforcement                       and         disposition              of Collateral                        to     the          extent                 the       Servicer            acts

  consistently               with the Collateral Acquisition                                            Agreement                with                            to    Collateral               Obligations                  and Eligible
                                                                                                                                          respect

  Investments                    and      ii the          Servicer                does           not      have         actual          knowledge                      that       its       actions               with       respect           to


  Collateral           Obligation                  or    an Eligible               Investment would                          violate         Section                  7f

                                                                         The           Issuer           shall       indemnif and                       hold harmless the                                    Issuer         in     such     case
  the     Indemnifying                            Party           the         Servicer                  its      directors              officers                  stockholders                         partners                 agents         and




  OHS Wcst2601                1005.6                                                                                  10-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                              Entered 01/09/21 18:45:04                                                         Page 12 of 26




   employees         such       parties collectively                          in    such case               the    Indemnified                       Parties            from and                  against        any and          all


   Liabilities        and       shall        reimburse                    each       such           Indemnified                    Party           for     all    reasonable                      fees     and         expenses

   including         reasonable          fees           and          expenses            of counsel                collectively                     the    Expenses                       as       such        Expenses           are

   incurred       in investigating                     preparing              pursuing              or     defending               any claim               action            proceeding or investigation
   with respect        to   any pending                      or threatened               litigation           collectively the                           Actions                   caused           by        or arising          out

   of or in connection                  with            the       issuance           of the Securities                        the        transactions              contemplated                      by        the     Offering

   Memorandum               the Indenture                     or     this    Agreement                    and/or        any        action          taken         by     or     any        failure         to    act    by     such

   Indemnified         Party provided                          however              that       no     Indemnified                  Party           shall    be     indemnified                     for     any    Liabilities


   or                       incurs       as            result          of any        acts or          omissions by any Indemnified                                           Party           constituting              Servicer
        Expenses       it



   Breaches          Notwithstanding                         anything            contained                herein        to   the        contrary            the obligations                       of the Issuer              under

   this    Section     10   shall       be        payable solely                    out       of the Collateral                        in    accordance               with the               priorities          set    forth      in


   the Indenture        and      shall       survive               termination                of    this    Agreement


                                                                       With        respect           to    any      claim              made         or     threatened                   against          an     Indemnified

   Party     or   compulsory                                   or request            or other             notice        of any loss                 claim damage                        or                      served
                                         process                                                                                                                                              liability                       upon
   an Indemnified            Party           for        which           such Indemnified                          Party       is       or may be                entitled           to    indemnification                     under

   this    Section     10 such Indemnified                                  Party        shall       or with             respect              to    Indemnified                   Parties          that        are directors

   officers       stockholders               agents               or    employees                  of the         Servicer               the       Servicer           shall         cause           such        Indemnified

   Party    to


                                                                                        give        written          notice             to     the       Indemnifying                        Party        of     such         claim

                             within           ten           10         days        after       such        Indemnified                       Partys         receipt           of actual              notice           that     such

                             claim           is    made              or     threatened                which          notice             to    the     Indemnifying                       Party        shall       specify          in


                             reasonable                     detail      the nature             of the claim and                        the    amount             or an         estimate             of the amount                  of

                             the     claim provided                              however              that        the failure                of any        Indemnified                    Party       to       provide         such

                             notice           to            the      Indemnifying                    Party          shall          not         relieve           the        Indemnifying                       Party         of    its




                             obligations                     under        this     Section            10     unless          the       Indemnifying                   Party         is    materially              prejudiced

                             or otherwise                     forfeits        rights or defenses                        by reason              of such failure



                                                                       ii               at    the     Indemnifying                      Partys                                 provide              the       Indemnifying
                                                                                                                                                           expense

                             Party        such information                           and           cooperation               with respect                  to    such         claim as the Indemnifying

                             Party       may            reasonably                 require           including but not limited                                   to making                appropriate                personnel

                              available                to     the      Indemnifying                   Party        at    such           reasonable               times        as        the       Indemnifying                Party

                             may request


                                                                       iii              at    the    Indemnifying                      Partys            expense             cooperate               and       take     all    such

                              steps       as       the         Indemnifying                    Party         may         reasonably                  request            to        preserve           and        protect           any
                              defense             to    such claim



                                                                       iv               in    the        event       suit         is    brought            with         respect              to    such         claim         upon
                             reasonable                      prior          notice             afford         to        the            Indemnifying                   Party             the        right         which            the

                              Indemnifying                        Party       may        exercise            in   its    sole discretion                   and     at       its
                                                                                                                                                                                   expense            to       participate         in


                             the investigation                            defense            and     settlement              of such claim



                                                                                        neither           incur     any       material               expense            to    defend              against        nor release

                              or   settle         any such claim                     or       make any admission with                                    respect        thereto              other than              routine       or

                              incontestable                       admissions or factual                           admissions the                      failure          to    make            which         would         expose
                              such Indemnified                            Party         to    unindemnified                   liability              nor permit                    default           or consent              to   the


                              entry      of any judgment                           in    respect           thereof           in    each        case        without           the prior written                    consent          of

                              the   Indemnifying                          Party and




   OHS West2601        1005.6                                                                                -11-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                   Entered 01/09/21 18:45:04                                                              Page 13 of 26




                                                                     vi               upon          reasonable                     prior           notice         afford           to     the       Indemnifying                        Party

                                 the       right        in    its    sole        discretion                 and        at    its     sole          expense              to     assume              the     defense                of such

                                 claim        including but not limited                                      to the right                    to     designate                counsel           reasonably acceptable
                                 to    the   Indemnified                   Party      and         to    control              all   negotiations                    litigation                 arbitration             settlements

                                 compromises                   and        appeals          of such claim provided                                        that     if    the    Indemnifying                     Party           assumes

                                 the       defense           of such claim                   it   shall       not           be     liable          for     any     fees        and        expenses              of counsel                  for

                                           Indemnified                Party         incurred                thereafter                  in    connection                 with such            claim except                           that    if
                                 any
                                 such         Indemnified                    Party            reasonably                         determines                    that          counsel               designated                     by       the

                                 Indemnifying                  Party        has         conflict              of       interest          in        connection with                      its
                                                                                                                                                                                               representation                     of such

                                 Indemnified                   Party             such         Indenmifying                              Party            shall         pay         the         reasonable                   fees          and

                                 disbursements                      of one         counsel              in        addition              to                 local        counsel                                     from          its     own
                                                                                                                                               any                                             separate

                                 counsel           for       all    Indemnified                   Parties              in     connection                   with any             one           action           or    separate              but

                                 similar           or    related            actions           in        the        same            jurisdiction                   arising           out        of        the    same              general

                                 allegations              or        circumstances                       provided                   further               that      prior        to        entering             into         any          final


                                   settlement            or         compromise such                               Indemnifying                           Party         shall         seek           the     consent                  of     the

                                 Indemnified                  Party        and      use       its
                                                                                                        commercially                          reasonable                efforts           in       the    light           of the then

                                 prevailing              circumstances                     including                        without                limitation                any     express              or        implied               time

                                 constraint              on                pending            settlement                     offer           to     obtain         the        consent              of such            Indemnified
                                                                any
                                              as    to       the     terms         of settlement                       or     compromise                          If    an     Indemnified                     Party            does not
                                 Party

                                   consent          to        the         settlement                   or                                           within                    reasonable                  time            under             the
                                                                                                              compromise
                                   circumstances                    the                                                      shall       not        thereafter               be obligated                 to    indemnify                   the
                                                                           Indemnifying                      Party

                                   Indemnified                Party        for   any amount                   in       excess           of such proposed                        settlement                or    compromise


                                                                     In      the        event                that            any         Indemnified                         Party             waives               its
                                                                                                                                                                                                                               right         to

  indemnification                  hereunder              the       Indemnifying                    Party          shall           not       be     entitled            to     appoint             counsel            to     represent

  such Indemnified                    Party     nor       shall       the     Indemnifying                        Party            reimburse such                       Indemnified                  Party          for     any          costs

  of counsel          to    such Indemnified                        Party


                                                                     Notwithstanding                                        other        provision               of     this       Agreement                   nothing               herein
                                                                                                             any
  shall    in    any        way       constitute                waiver           or    limitation                 of any             rights which                      the     Issuer          or    the       Holders of the

                                                         any U.S            federal          securities                laws
  Securities          may have             under


                                   11              No     Partnership               or Joint            Venture



                                   The     Issuer        and        the Servicer              are not partners                          or joint           venturers            with each                other           and      nothing

  herein    shall          be construed             to    make them such                          partners              or joint             venturers            or     impose               any    liability             as     such      on

  either    of them                  The     Servicers               relation           to        the        Issuer           shall           be     deemed              to     be        that       of an            independent

  contractor



                                   12              Term            Termination



                                                                     This        Agreement                   shall           commence                    as    of the date               first      set    forth           above           and

  shall    continue             in force        and          effect        until      the         first      of the              following                occurs                    the       payment               in     full         of the

  Notes         the    termination             of the Indenture                        in     accordance                      with           its    terms and                 the    redemption                     in     full      of the

  Preference           Shares            ii    the liquidation                     of the Collateral                          and        the       final       distribution                of the proceeds                        of such

  liquidation          to     the     Holders of the Securities                               or       iii the termination                                of     this    Agreement                   in    accordance                     with

  subsection                                  or              of    this    Section          12        or Section                  14    of       this    Agreement


                                                                     Subject          to     Section              12e              below            the        Servicer            may resign upon                              90      days
  written       notice        to     the Issuer          or such shorter                      notice              as    is
                                                                                                                              acceptable                  to     the    Issuer                If   the Servicer                   resigns




  OHS West2601             11005.6                                                                            -12-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                   Entered 01/09/21 18:45:04                                                       Page 14 of 26




  the Issuer        agrees    to    appoint                 successor                Servicer              to    assume             such duties               and        obligations              in   accordance                   with

  Section       12e

                                                                   This                                         shall        be    automatically                    terminated               in    the       event        that       the
                                                                               Agreement
  Issuer       determines          in     good             faith        that        the     Issuer              or     the        pooi        of Collateral                 has        become               required           to      be

  registered        under         the    provisions                 of the Investment                                 Company                 Act         and        the    Issuer          notifies             the     Servicer

  thereof



                                                                   If   this        Agreement                    is    terminated               pursuant             to    this    Section             12        neither        party

  shall      have   any further               liability         or obligation                  to the            other except                   as    provided             in Sections                 2ci                 10       and

   15   of   this   Agreement


                                                       No        removal or resignation                                  of the Servicer                     shall       be effective             unless



                                                                                                 the            Issuer            appoints                   successor             Servicer                 at    the      written

                             direction            of         Majority               of the Preference                             Shares        excluding                 any Preference                    Shares        held         by
                             the    retiring               Servicer            any        of    its    Affiliates                  or    any       account           over       which         the      retiring          Servicer

                             or    its    Affiliates               have        discretionary                     voting            authority           or          with respect              to    Class               Preference

                             Shares             held               Investors                Corp                at     such        time         Holding              Preference               Shares              held     by        the
                                                            by

                             retiring           Servicer                any     of    its      Affiliates                or       any       account           over which               the retiring Servicer                           or

                             its    Affiliates              have                                                              authority               other        than         with respect                to    the     Class         II
                                                                         discretionary                     voting

                             Preference                 Shares            HFP             provided                   that         with respect                to     the    voting           authority              of Class            II


                             Preference                    Shares        owned             by     HFP                 such        vote        shall     not        be     excluded            only          if    such     vote         is



                             determined                    by           vote         of the            majority                   of     the       independent                    directors                 determined                 in


                             accordance                     with        the         governing                    documents                    of      HFP          and      certified             in        writing         to       the

                             Preference                Shares            Paying Agent                       by any                of the independent                            directors           HFPof                 of    HFP
                             each             such          non-excluded                    Preference                       Share                 Voting                Preference               Share                             such

                             successor               Servicer            has                          in                      to       assume          all    of the        retiring         Servicers                 duties       and
                                                                                    agreed                  writing

                                                                               to    this                                    and the Indenture                       and               such successor                     Servicer
                             obligations                pursuant                               Agreement
                             is    not        objected             to    within            30     days               after        notice        of such            succession               by     either                      Super

                             Majority                of the         Controlling                   Class              of Notes               excluding                any        Notes        held           by     the     retiring


                             Servicer                       Affiliates               or               account                 over        which         the                        Servicer             or       its    Affiliates
                                                     its
                                                                                            any                                                                    retiring

                             have         discretionary                   voting            authority                   other          than     HFP           provided             that           with respect                 to    the


                             voting            authority            of Notes                owned               by      HFP              such      vote       shall        not    be        excluded              only     if       such

                             vote        is    determined by                         vote       of the majority                          of the independent                        directors                determined                  in


                             accordance                    with the governing                          documents                       of   HFP        and         certified       in       writing          to    the Trustee


                             by any of the independent                                         directors                     of   HFP          of     HFP           each such non-excluded Note
                             Voting              Note              or                 Majority                  in     Aggregate                Outstanding Amount                            of the Voting                    Notes

                             voting             as         single        class



                                                                   ii                 if        majority                of the Voting                   Preference                Shares has nominated                              two

                             or    more           successor               Servicers              that           have         been        objected             to    pursuant           to    the       preceding               clause


                             iC               or has        failed        to    appoint                    successor                Servicer           that        has     not    been        objected             to pursuant

                             to     the preceding                       clause        iC               within                60    days         of the date                of notice             of such            removal or

                                                           of the         Servicer                              the     Issuer           appoints                  successor            Servicer             at     the    written
                             resignation

                                                   of                                                                                                                                                                               that
                             direction                        Super Majority of the Controlling                                                 Class         of Notes            excluding                  any Notes
                             are not            Voting           Notes                      such successor                          Servicer            has        agreed        in writing             to       assume          all   of

                             the         retiring            Servicers                duties               and          obligations                   pursuant             to     this       Agreement                    and        the

                             Indenture               and                such successor                          Servicer            is    not objected               to    within        30       days       after       notice        of

                             such succession                                                                                 of the Voting                Preference               Shares
                                                                   by either                      Majority                                                                                             or                Majority
                             in    Aggregate                 Outstanding Amount of the Voting Notes                                                                voting         as        single          class         or




   OHS West260111005.6                                                                                           -13
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                    Entered 01/09/21 18:45:04                                                                  Page 15 of 26




                                                                        iii                   if          Majority                of        the    Voting                Preference                    Shares            and            Super

                                  Majority                of the Controlling                           Class         excluding                    any Notes                   that        are     not        Voting            Notes          has

                                  nominated                    two      or    more             successor               Servicers               that          have        been           objected              to    pursuant            to    the

                                  preceding                clauses             iC                  and       iiC              or        has        otherwise                  failed            to      appoint                  successor

                                  Servicer            that        has     not           been        objected            to pursuant                    to     the      preceding                clause             iC           or    ii
                                  within            120        days      of the date                      of notice               of such              removal                or     resignation                   of the            Servicer

                                                      Holder             of the               Controlling               Class               of Notes               excluding                                Notes             that    are     not
                                          any                                                                                                                                                   any

                                  Voting            Notes              any Holder of Voting                               Preference                    Shares           or the Trustee                      petitions                court    of

                                  competent                authority                to    appoint                 successor                  Servicer                         such         court        appoints                 successor

                                  Servicer            and                    such             successor              Servicer                has        agreed            in    writing                to     assume            all     of the

                                  retiring           Servicers               duties            and        obligations              pursuant                 to    this    Agreement                     and        the     Indenture


                                  In      addition                           successor                 Servicer              must            be        an        established                institution               which                   has
                                                                 any
  demonstrated an                                    to    professionally                      and        competently                       perform              duties        similar            to    those         imposed
                                    ability                                                                                                                                                                                              upon
  the    Servicer          hereunder                  ii         is    legally            qualified               and      has          the       capacity               to    act         as     Servicer               hereunder             as

  successor          to    the      Servicer          under            this        Agreement                 in     the    assumption of                           all   of the responsibilities                                duties        and

  obligations             of the Servicer                  hereunder and                       under         the applicable                       terms of the Indenture                                     iii     shall       not cause

  the Issuer         or the         pool of Collateral                         to       become              required          to        register under                    the provisions                       of the Investment

  Company            Act          iv      shall       perform                its     duties           as Servicer                 under           this        Agreement                    and       the      Indenture               without

  causing       the        Issuer         the        Co        Issuer        or         any        Holder         of Preference                         Shares           to    become                  subject           to     tax    in     any

  jurisdiction            where          such        successor               Servicer                is   established                   as    doing business                         and                each        Rating Agency
  has    confirmed             that       the       appointment                     of such            successor              Servicer                 shall        not       cause         its      then          current           rating    of

  any Class          of Notes             to    be    reduced                or     withdrawn                     No      compensation                           payable             to         successor                Servicer        from

  payments           on the Collateral                         shall    be greater                  than      that      paid           to    the retiring Servicer                           without               the prior written

  consent       of           Super         Majority                   of the            Controlling               Class            of Notes                        Majority                of the Noteholders                           and

  Majority        of the Preference                             Shares              The         Issuer            the     Trustee              and           the       successor             Servicer               shall        take        such

  action     or      cause          the   retiring              Servicer            to    take        such action                      consistent                with     this        Agreement                    and        the terms        of

  the Indenture             applicable               to    the Servicer                    as       shall    be necessary                     to effectuate                   any such succession


                                                                        In    the         event           of removal of the Servicer                                      pursuant                to        this    Agreement                 the

  Issuer     shall        have      all   of the rights and remedies available                                                    with respect                    thereto          at     law or equity and without

  limiting the            foregoing                 the Issuer           or         to    the extent              so    provided                  in    the      Indenture                 the       Trustee          may by            notice

  in   writing       to    the Servicer                   as    provided                under         this     Agreement                     terminate              all   the rights                 and       obligations              of the

  Servicer       under            this    Agreement                    except              those          that      survive                 termination                 pursuant             to      Section             12d above
  Upon      expiration              of the applicable                        notice           period         with respect                    to    termination                  specified               in     this      Section         12    or

  Section      14     of    this       Agreement                      as applicable                   all    authority             and power                     of the Servicer                     under          this      Agreement
  whether       with respect                   to    the Collateral                      or    otherwise               shall automatically                               and       without             further           action        by any

  person or entity pass                    to       and        be vested             in    the successor                  Servicer                upon           the     appointment thereof


                                    13               Delegation                    Assignments


                                  This         Agreement                     and         any        obligations               or        duties          of the Servicer                         hereunder                     shall    not     be

  delegated          by     the      Servicer              in     whole            or     in    part except                  to                entity            that           is        controlled               by any            of James
                                                                                                                                   any
  Dondero            Mark Okada and Todd                                 Travers               and        ii   is      one        in    which           any of James                      Dondero                  Mark Okada and
  Todd      Travers          is     involved              in    the     day        to     day management and                                  operations                 and         in     any        such case               pursuant         to


  an    instrument            of delegation                      in    form          and        substance               satisfactory                    to       the     Issuer             without                the     prior       written

  consent      of the Issuer                         Super             Majority               of the Controlling                            Class           of Notes           excluding                     any      Notes           that    are

  not   Voting Notes and                             Majority of the Voting                                  Preference                     Shares           and       notwithstanding                         any       such consent

  no    delegation           of obligations                     or duties            by the Servicer                      including                     without           limitation                   to    an     entity       described

  above       shall        relieve        the Servicer                  from            any        liability        hereunder




  OHS West2601            11005.6                                                                                   -14-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                     Entered 01/09/21 18:45:04                                                                   Page 16 of 26




                                         Subject            to    Section           12 any assignment of                                    this        Agreement                       to    any        Person            in     whole           or    in


   part by the Servicer                             shall        be     deemed            null       and        void unless                         such assignment                               is    consented               to    in writing

   by the Issuer                        Super Majority                       of the Controlling                       Class        of Notes                  excluding                  any Notes                that      are not           Voting

   Notes          and                  Majority             of the           Voting           Preference                 Shares              and         ii the               Rating               Agency              Confirmation                     is

                       with                                              such                                                      assignment consented
   satisfied
                                       respect        to         any                   assignment                      Any                                                                    to        by      the    Issuer                 Super

   Majority             of the               Controlling                Class          of Notes                excluding                            Notes               that        are           not     Voting            Notes and
                                                                                                                                            any
   Majority            of the Voting                      Preference                   Shares        shall           bind the assignee                            hereunder in the same manner                                                as       the

   Servicer            is     bound              In       addition             the      assignee               shall        execute            and           deliver           to        the       Issuer           and      the       Trustee

   counterpart                    of   this    Agreement                     naming         such           assignee            as        Servicer                   Upon                the       execution            and           delivery           of

   such          counterpart                   by     the assignee                  and    consent              thereto           by        the Issuer                    Super               Majority of the Controlling
   Class       of Notes                 excluding                 any Notes              that       are not           Voting           Notes and                          Majority of the Voting                                     Preference

   Shares            the       Servicer             shall         be    released          from           further            obligations                  pursuant                  to    this          Agreement                                  with
                                                                                                                                                                                                                                  except

   respect        to        its
                                   obligations              arising           under        Section              10     of    this      Agreement                     prior          to       such        assignment and                      except
   with respect                   to   its
                                              obligations               under          Sections           2ci               and        15    hereof               This         Agreement                       shall not          be assigned

   by     the    Issuer                without        the         prior written                 consent              of the Servicer                         and        the         Trustee               except           in     the    case           of

   assignment by the Issuer                                  to          an entity which                        is      successor                  to    the Issuer                 permitted                  under        the       Indenture
   in    which         case            such    successor                                                         be bound                   hereunder and                                                        of said assignment
                                                                        organization                 shall                                                                     by the terms
   in   the    same            manner           as the Issuer                 is    bound           thereunder               or     ii the              Trustee            as      contemplated by the Indenture
   In    the event                of any       assignment by the Issuer                                   the Issuer               shall       cause              its   successor                  to     execute           and        deliver          to

   the    Servicer                 such        documents                 as       the     Servicer              shall        consider               reasonably                                                 to     effect          fully       such
                                                                                                                                                                                    necessary

   assignment                     The        Servicer            hereby consents                    to    the matters                  set    forth          in    Article              15    of the Indenture


                                         14               Termination                   by the Issuer                  for    Cause


                                        Subject           to      Section          12e          above           this        Agreement                   shall        be       terminated                  and        the Servicer                 shall


   be    removed                  by    the    Is    suer        for cause             upon         10     days         prior written                        notice           to    the        Servicer              and     upon            written

   notice       to     the        Holders of the Securities                               as       set   forth         below            but       only        if     directed                to    do     so     by               the   Trustee

   acting       at    the direction                  of           Super Majority                    of the Controlling                         Class          of Notes                  excluding                   any Notes            that are

   not    Voting              Notes            or                the    Holders           of             Majority             of the Voting                        Preference                     Shares              For purposes                     of

   determining                    cause             with respect                  to    any        such         termination                  of    this       Agreement                           such         term       shall       mean any
   one    of the following                       events


                                                                              the Servicer                willfully           breaches                  in    any         respect                 or takes                      action        that
                                                                                                                                                                                                                     any                                 it


   knows         violates              in
                                             any respect                any provision                    of     this    Agreement                   or       any terms of the Indenture                                         applicable              to


   it



                                                                              the       Servicer               breaches             in       any         material                  respect               any         provision               of    this


   Agreement                  or       any     terms        of the Indenture                       or the            Collateral              Administration                         Agreement                    applicable              to       it    or

   any    representation                        warranty                certification                or        statement               given            in    writing              by        the        Servicer           shall                        to
                                                                                                                                                                                                                                        prove
   have       been          incorrect           in                                                   when made                                           and the Servicer                                                         such breach
                                                      any material                  respect                                    or       given                                                          fails    to    cure

   or take       such action                   so that            the facts            after                         effect       to     such action                     conform                  in     all    material                                to
                                                                                                   giving                                                                                                                            respects

   such representation                          warranty                certificate             or       statement             in      each        case           within           30        days of becoming                          aware           of
   or    receiving                notice        from              the    Trustee           of        such        breach             or       materially                 incorrect                  representation                      warranty
   certificate              or    statement


                                                                             the       Servicer           is    wound          up           or dissolved                  other than                           dissolution              in    which

   the    remaining                    members              elect       to    continue              the business                  of the Servicer                         in       accordance                   with        its
                                                                                                                                                                                                                                     Governing

   Instruments                    or    there        is
                                                            appointed over                    it    or          substantial                  portion           of       its    assets                   receiver            administrator

   administrative                      receiver            trustee           or     similar officer                     or    the           Servicer                    ceases               to    be        able     to        or    admits            in


   writing        its
                            inability          to pay             its   debts          as they           become              due       and        payable               or     makes                     general          assignment for
   the benefit               of or enters                 into        any composition                      or        arrangement                  with            its   creditors                 generally                ii        applies           for




   OHS West260111005.6                                                                                                 -15-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                Entered 01/09/21 18:45:04                                                     Page 17 of 26




   or    consents           by       admission               of material                 allegations                 of          petition            or    otherwise               to    the     appointment                   of

   receiver          trustee           assignee custodian                          liquidator              or sequestrator                      or        other       similar official                 of the Servicer

   or    of any           substantial                       of    its      properties               or    assets            or    authorizes                   such    an     application               or       consent            or
                                                 part

   proceedings seeking                        such appointment                          are   commenced                     without             such authorization                       consent           or application

   against      the Servicer                and        continue            undismissed for 60                          days iii                 authorizes             or    files           voluntary            petition          in


   bankruptcy               or applies            for or consents                   by        admission of material                              allegations             of         petition          or   otherwise                to


   the    application                of any            bankruptcy                 reorganization                       arrangement                        readjustment                of debt              insolvency               or

   dissolution             or authorizes                such application                      or    consent            or      proceedings                 to   such end            are instituted               against        the

   Servicer          without           such       authorization                   application                  or     consent         and         are      approved            as       properly           instituted           and
   remain undismissed for 60 days                                       or    result          in    adjudication                 of bankruptcy                    or    insolvency               or    iv         permits           or

   suffers      all       or   any      substantial              part      of     its
                                                                                         properties              or       assets      to    be       sequestered              or attached              by court            order

   and    the order            remains undismissed for 60 days



                                                                       the       occurrence               of any            Event          of Default              under        the      Indenture               that   results


   from      any      breach           by     the       Servicer           of     its    duties           under           the    Indenture                or    this    Agreement                    which        breach            or

   default      is    not      cured within                                                  cure    period               or
                                                            any applicable


                                                                                 the occurrence                  of an act by the Servicer                              related          to    its    activities          in
                                                                                                                                                                                                                                any
   servicing              securities             financial             advisory               or    other           investment                  business              that    constitutes               fraud                   the

   Servicer          being indicted                    or   any of         its
                                                                                  principals              being convicted                        of        felony       criminal             offense         related       to    its



   activities         in   any       servicing              securities             financial              advisory              or other             investment              business          or            the    Servicer

   being indicted                for adjudged                  liable        in          civil      suit        for or convicted                       of        violation           of the Securities                  Act or

   any other United States Federal                                    securities             law or any rules or regulations                                      thereunder



                                  If    any of the events                        specified          in this           Section         14    shall          occur       the Servicer              shall give             prompt
   written      notice           thereof         to     the Issuer               the Trustee               and        the      Holders of                 all   outstanding              Notes         and       Preference

   Shares       upon        the      Servicers              becoming              aware            of the occurrence                    of such event



                                   15                  Action Upon                 Termination



                                                                       From and                after       the        effective            date       of termination                    of    this    Agreement                 the

   Servicer          shall        not    be       entitled            to     compensation                       for       further          services             hereunder                but     shall       be     paid         all


   compensation                 accrued           to    the date           of termination as provided                                      in    Section               hereof           and    shall       be entitled              to


   receive       any           amounts           owing           under           Section            10     hereof                Upon           the       effective          date       of termination                  of      this


   Agreement               the Servicer                shall     as     soon as practicable


                                                                                         deliver          to the          Is   suer   all       property          and        documents               of the Trustee                 or

                                  the       Is   suer or otherwise                      relating          to    the Collateral                  then       in   the    custody of the Servicer                            and



                                                                       ii                deliver           to       the    Trustee              an    accounting              with respect                  to    the     books
                                  and        records             delivered              to    the        Trustee            or    the       successor              Servicer             appointed            pursuant               to


                                   Section             12e       hereof



                                  Notwithstanding                          such termination the Servicer                                        shall          remain        liable      to    the     extent       set      forth

   herein       but        subject       to       Section         10       hereof            for    its        acts    or      omissions hereunder arising prior                                        to       termination

   and    for    any           expenses               losses       damages                   liabilities              demands               charges             and     claims           including               reasonable

   attorneys              fees    in respect                of or arising out of                          breach            of the representations                           and      warranties             made by            the

   Servicer          in    Section          16b         hereof or from                       any    failure           of the Servicer                     to    comply        with the provisions                       of      this


   Section       15




   OHS West260l            11005.6                                                                               -16-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                         Entered 01/09/21 18:45:04                                                           Page 18 of 26




                                                         The             Servicer              agrees               that           notwithstanding                      any          termination                    of        this


  Agreement        it    shall      reasonably cooperate                           in                Proceeding                    arising        in     connection                 with       this         Agreement
                                                                                         any
  the Indenture         or   any of the Collateral excluding                                    any such Proceeding                               in     which          claims         are asserted                     against

  the   Servicer    or       any     Affiliate         of the Servicer                        upon           receipt            of appropriate                  indemnification                          and        expense
  reimbursement



                             16           Representations                     and       Warranties



                                                         The           Issuer       hereby represents                           and warrants                  to the Servicer                     as     follows



                                                                             The         Issuer         has         been        duly registered                   and        is     validly         existing             under

                             the   laws     of the Cayman                        Islands             has          full      power          and     authority             to       own      its      assets          and       the

                             securities      proposed              to       be     owned             by      it    and         included           in     the    Collateral                and       to      transact          the

                             business      in     which           it   is    presently               engaged                  and     is    duly         qualified            under          the         laws of each

                             jurisdiction         where            its
                                                                            ownership                 or          lease        of property                or      the     conduct                  of       its    business

                             requires      or the        performance                     of    its
                                                                                                      obligations                   under         this    Agreement                   the Indenture                      or the

                             Securities         would          require               such            qualification                                       for    failures             to        be        so       qualified
                                                                                                                                      except

                             authorized         or licensed                 that    would             not         in     the aggregate                  have            material           adverse                effect       on
                             the   business operations                           assets or financial                          condition           of the Issuer



                                                         ii                  The         Issuer           has          full                   and        authority             to    execute                deliver           and
                                                                                                                               power
                             perform       this        Agreement                   the       Indenture                   and       the      Securities            and         all    obligations                   required

                             hereunder and              thereunder                 and       has     taken             all     necessary           action         to    authorize                 this      Agreement
                             the   Indenture           and     the          Securities             on      the         terms and             conditions                hereof and                 thereof           and       the

                             execution       by        the Issuer                delivery            and          performance                 of    this       Agreement                   the       Indenture                and

                             the    Securities          and        the       performance                      of       all     obligations               imposed                             it     hereunder and
                                                                                                                                                                               upon
                             thereunder            No     consent                of any         other             person including                        without             limitation                 shareholders

                             and     creditors          of        the       Issuer             and         no          license             permit             approval               or      authorization                     of

                             exemption            by      notice             or     report              to         or        registration                filing         or        declaration                  with           any
                             governmental               authority                other        than        those             that     may be             required          under            state         securities or

                             blue        sky      laws       and         those          that     have             been         or    shall        be     obtained              in    connection                    with       the

                             Indenture       and       the     Securities               is    required                 by the Issuer               in    connection with                          this      Agreement
                             the    Indenture           and       the        Securities                 or        the       execution              delivery              performance                          validity         or

                             enforceability             of     this         Agreement                     the       Indenture               and         the    Securities                 or      the         obligations

                             imposed         upon         it      hereunder                   or        thereunder                    This         Agreement                      constitutes                     and        each

                             instrument           or    document                   required             hereunder                    when         executed              and          delivered                hereunder

                             shall    constitute         the legally                valid          and        binding              obligation            of the Issuer                 enforceable                      against

                             the Issuer      in    accordance                 with       its    terms               subject          to           the effect            of bankruptcy                         insolvency

                             or    similar      laws affecting                     generally              the          enforcement                of creditors                    rights          and               general

                             equitable       principles



                                                         iii                 The         execution                  by        the    Issuer            delivery          and         performance                        of    this


                             Agreement            and    the       documents                   and        instruments                     required         hereunder                 shall        not       violate           any

                             provision       of any existing law or regulation                                                binding        on        the Issuer             or     any       order judgment
                             award       or decree        of any             court arbitrator                          or     governmental                 authority              binding              on     the Issuer

                             or    the    Governing               Instruments                   of         or       any         securities              issued          by          the    Issuer             or        of any

                             mortgage           indenture                lease          contract              or         other                                 instrument                 or        undertaking                 to
                                                                                                                                     agreement
                             which       the Issuer                                       by which                                                         of
                                                             is
                                                                       party        or                                 the Issuer            or   any             its    assets           may be bound                        the

                             violation       of which              would            have                material                adverse           effect        on       the        business                  operations

                             assets or financial               condition                of the        Is   suer and                 shall     not result           in    or require                 the creation               or

                             imposition         of any         lien      on any of             its
                                                                                                        property assets or revenues                                     pursuant to the provisions




  OHS West260111005.6                                                                                -17-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                           Entered 01/09/21 18:45:04                                                              Page 19 of 26




                        of any             such            mortgage                indenture                       lease            contract              or      other       agreement                     instrument                 or

                        undertaking                   other than                 the       lien       of the Indenture



                                                             iv                   The           Issuer        is    not        in    violation               of   its
                                                                                                                                                                         Governing                  Instruments                  or    in


                        breach        or         violation             of or in default                        under           the         Indenture              or    any     contract               or    agreement                 to


                        which         it    is
                                                       party           or    by which                   it    or    any        of        its     assets        may       be    bound               or    any         applicable

                        statute       or     any rule                  regulation                 or order               of any court government                                     agency             or    body         having

                        jurisdiction              over          the Issuer                  or    its
                                                                                                             properties                  the     breach           or    violation             of which               or    default

                        under        which            would            have             material               adverse              effect          on    the validity              or enforceability                       of    this


                        Agreement                 or the         performance                      by         the Issuer             of     its      duties        hereunder


                                                                                  True           and          complete                   copies           of the             Indenture              and        the        Issuers

                        Governing                Instruments                     have           been         delivered              to    the       Servicer



                        The      Issuer               agrees           to        deliver                   true          and        complete                 copy        of each                  amendment                 to    the

   documents      referred      to     in        Section               6av                  above             to     the       Servicer                 as     promptly             as       practicable                  after       its



   adoption    or execution



                                                             The        Servicer                hereby represents                              and warrants              to    the Issuer               as    follows



                                                                                  The           Servicer            is         limited              partnership               duly organized and                           validly

                        existing and                  in    good        standing                 under         the       laws of the State of Delaware                                            has     full       power and
                        authority           to        own        its    assets             and        to     transact           the business                      in    which        it      is
                                                                                                                                                                                                   currently           engaged
                        and     is
                                      duly qualified                        and       in        good         standing               under           the      laws of each                 jurisdiction                where           its



                        ownership or lease of property                                            or the            conduct               of     its    business          requires                or the      performance
                        of     this        Agreement                   would               require            such         qualification                       except          for       those          jurisdictions                  in


                        which         the        failure          to        be    so        qualified               authorized                    or     licensed            would            not       have              material

                        adverse            effect          on the business                         operations                  assets or financial                           condition             of the Servicer                    or

                        on     the     ability              of the Servicer                           to      perform               its        obligations              under            or       on     the      validity             or

                        enforceability                     of     this       Agreement                       and         the provisions                      of the Indenture                       applicable               to       the

                        Servicer




                                                             ii                   The           Servicer            has    full          power and                authority             to    execute             deliver         and

                        perform            this        Agreement                  and           all    obligations                  required              hereunder and                      under          the provisions

                        of the Indenture                     applicable                    to    the       Servicer             and         has        taken      all    necessary                action        to    authorize

                        this    Agreement                       on      the       terms               and        conditions                    hereof          and       the       execution                  delivery            and

                        performance                    of       this        Agreement                      and       all       obligations                   required          hereunder                  and        under            the

                        terms of the                       Indenture              applicable                   to        the    Servicer                     No        consent            of any             other         person

                        including                without             limitation                  creditors               of the Servicer                          and    no     license                permit          approval

                        or authorization                     of exemption                         by         notice        or report                   to or registration                     filing         or declaration

                        with         any         governmental                      authority                  is     required                  by      the     Servicer            in        connection               with        this


                        Agreement                     or    the        execution                   delivery                performance                         validity         or        enforceability                   of     this


                        Agreement                 or        the      obligations                      required             hereunder or under                                the    terms              of the        Indenture

                        applicable               to    the      Servicer                   This        Agreement                    has        been and each                   instrument                   and      document

                        required           hereunder or under                               the terms               of the Indenture                           applicable           to       the Servicer              shall          be
                        executed            and        delivered                 by             duly         authorized                                   of the Servicer                     and       this      Agreement
                                                                                                                                         partner

                        constitutes               and        each           instrument                  and         document                   required           hereunder or under                            the terms              of

                        the    Indenture                   applicable                 to        the     Servicer               when             executed               and     delivered                by     the        Servicer

                        hereunder or under                             the terms                 of the Indenture                          applicable              to    the       Servicer             shall        constitute

                        the valid           and        legally              binding              obligations               of the Servicer                        enforceable                 against           the Servicer

                        in     accordance                   with        their         terms                subject         to                   the      effect         of bankruptcy                        insolvency                or




   OHS West2601   11005.6                                                                                    -18-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                        Entered 01/09/21 18:45:04                                                          Page 20 of 26




                          similar       laws            affecting              generally                the        enforcement                       of creditors                  rights          and                general

                          equitable         principles



                                                             iii               The         execution                   delivery              and      performance                  of    this       Agreement                   and

                          the terms          of the Indenture                           applicable                to    the       Servicer              and      the     documents                 and     instruments

                          required       hereunder or under                               the       terms of the Indenture                               applicable               to    the Servicer              shall         not

                          violate       or    conflict              with           any      provision                  of any            existing             law      or     regulation             binding               on        or

                          applicable              to     the        Servicer                or        any         order            judgment                   award           or       decree        of         any        court
                          arbitrator          or         governmental                          authority                binding                 on       the         Servicer             or        the         Governing
                          Instruments               of       or     any        securities               issued          by        the        Servicer            or    of any           mortgage                indenture

                          lease        contract           or      other        agreement                     instrument                  or undertaking                     to    which         the      Servicer               is


                          party    or    by which                  the        Servicer           or     any        of       its   assets           may        be bound                 the violation             of which

                          would         have                material               adverse            effect           on         the        business            operations               assets           or    financial

                          condition          of the Servicer                       or    its
                                                                                                ability           to   perform               its
                                                                                                                                                     obligations              under       this      Agreement                   and

                          the provisions                 of the Indenture                       applicable                  to    the        Servicer            and     shall         not result          in   or require

                          the creation             or       imposition               of any             lien       on       any         of   its     material           property assets or revenues

                          pursuant           to        the     provisions                 of any                 such        mortgage                   indenture                lease        contract            or       other

                          agreement               instrument                  or   undertaking



                                                             iv                There             is     no        charge                 investigation                   action           suit       or     proceeding
                          before       or
                                      by any court pending                                       or         to    the best          knowledge                    of the Servicer                    threatened              that

                          if   determined adversely  to the                                      Servicer                   would            have             material            adverse          effect                       the
                                                                                                                                                                                                                 upon
                          performance                  by     the       Servicer               of     its    duties           under             or    on        the validity             or    enforceability                    of
                          this    Agreement                  and        the provisions                   of the Indenture                          applicable            to      the    Servicer



                                                                               The             Servicer                is           registered                  investment                adviser               under           the

                          Advisers Act



                                                             vi                The         Servicer               is    not       in violation                  of    its
                                                                                                                                                                              Governing             Instruments                      or

                          in   breach         or violation                    of or in default                         under                               to                                            which
                                                                                                                                any contract or agreement                                                              it       is



                          party    or    by which                  it   or    any of           its
                                                                                                      property               may be bound or any applicable                                              statute       or       any
                          rule     regulation                or     order           of any             court            govermnent                    agency            or       body     having jurisdiction

                          over the Servicer                    or       its
                                                                              properties                the       breach           or violation                 of which           or default              under       which

                          would        have              material             adverse            effect           on        the    validity or                  enforceability                of    this    Agreement
                          or the       provisions               of the Indenture                            applicable                  to   the      Servicer              or the       performance                   by the
                          Servicer       of       its    duties          hereunder



                          17            Notices


                          Unless expressly                        provided                otherwise                    herein            all       notices           requests            demands                and        other

   communications          required          or permitted                     under            this     Agreement                       shall      be      in    writing           including              by telecopy
   and   shall   be   deemed      to    have            been       duly        given           made and                 received                when          delivered            against          receipt           or   upon
   actual   receipt    of registered              or     certified             mail         postage               prepaid               return        receipt          requested               or     in    the       case           of

   telecopy      notice   when     received               in legible               form addressed                           as    set    forth        below




   OHS West260111005.6                                                                                   -19-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                       Entered 01/09/21 18:45:04                                 Page 21 of 26




                                    If to     the Issuer




                              Grayson            CLO Ltd
                              do     Ogier Fiduciary               Services      Cayman          Limited

                              P.O Box 1093GT

                              Queensgate             House

                              South       Church        Street

                              George          Town        Grand      Cayman Cayman                Islands

                              Telephone              345 945-6264
                              Telecopy              345 945-6265
                              Attention The               Directors



                                    If to     the    Servicer



                              Highland           Capital     Management                L.P
                              Two        Galleria      Tower
                                13455       Noel     Road       Suite    1300

                              Dallas          Texas     75240

                              Telephone              972 628-4100
                              Telecopy              972 628-4147
                              Attention James                Dondero



                                    If   to   the    Trustee


                              Investors          Bank        Trust      Company
                              200    Claredon Street

                              Mailcode              EUC-108

                              Boston Massachusetts                      02116

                              Telecopy              617351-4358
                              Attention             CDO     Services      Group


                                    If   to   the    Noteholders



                              In    accordance          with Section           14.4    of the Indenture          at    their      respective   addresses     set    forth    on
  the   Note      Register


                                    If   to   the    Holders of the Preference                  Shares



                              In    accordance            with Section          14.4   of the Indenture           to       the Preference      Shares      Paying Agent
  at   the address       identified           therein



                                    if to     the   Rating Agencies


                              In    accordance            with Section          14.3    of the Indenture              to    the    rating   Agencies    at   the    address

  identified        therein




                              Any        party      may    alter    the address         or telecopy      number            to   which   communications             or copies

  are   to   be     sent   by       giving       notice      of such          change     of address         in   conformity with the              provisions         of     this


  Section      17    for the giving            of notice




  OHS West2601        11005.6                                                            -20-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                      Entered 01/09/21 18:45:04                                                     Page 22 of 26




                                   18               Binding          Nature of Agreement                         Successors            and       Assigns


                                   This       Agreement              shall       be binding                       and       inure      to    the benefit            of the parties hereto                        and
                                                                                                        upon
   their     respective            heirs       personal            representatives                 successors           and      permitted             assigns          as    provided           herein          The

   Servicer       hereby consents                     to    the     collateral         assignment of                 this    Agreement              as   provided                  in   the    Indenture         and

   further       agrees      that       the Trustee              may      enforce          the    Servicers          obligations             hereunder



                                   19               Entire       Agreement


                                   This        Agreement                contains           the     entire                              and                                                         the
                                                                                                                agreement                         understanding                     among                  parties

   hereto        with       respect            to     the       subject          matter           hereof        and         supersedes             all    prior              and         contemporaneous

   agreements              understandings                       inducements                and     conditions                               or     implied              oral        or    written         of any
                                                                                                                            express
   nature      whatsoever                with        respect         to        the    subject          matter      hereof             The                          terms            hereof        control        and
                                                                                                                                                 express

   supersede        any        course          of performance                   andlor          usage of the trade                inconsistent            with any of the terms hereof

   This      Agreement             may not            be modified               or    amended            other     than       by an         agreement              in    writing          executed         by the
   parties hereto           and      in       accordance            with       the terms          of Section          15.1h           of the Indenture



                                   20               Conflict         with the Indenture



                                   Subject           to    the     last    two         sentences          of     Section         2ai              in    the   event               that    this    Agreement
   requires       any     action         to    be taken          with respect              to    any matter          and      the Indenture              requires             that            different    action

   be    taken     with respect                 to        such     matter            and     such       actions         are      mutually exclusive                          the        provisions         of the
   Indenture        in    respect         thereof          shall     control



                                   21               Priority        of Payments



                                   The    Servicer              agrees     that      the    payment          of   all     amounts           to   which        it   is    entitled pursuant                 to    this


   Agreement             and       the Indenture                shall     be     due       and    payable only              in    accordance             with the              priorities         set     forth    in

   the     Indenture           and       only        to    the     extent        funds           are   available          for     such       payments               in       accordance             with such

   priorities



                                   22               Governing             Law


                   AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH AND
                                   THIS
   GOVERNED BY THE LAWS OF THE STATE OF NEW YORK WITHOUT REFERENCE TO
   ITS PROVISIONS THAT WOULD RESULT IN THE APPLICATION  OF THE LAWS OF
   ANOTHER JURISDICTION

                                   23               Indulgences            Not        Waivers


                                Neither             the    failure        nor        any    delay       on     the    part       of any          party    hereto             to     exercise                right
                                                                                                                                                                                                    any
   remedy power                 or privilege               under        this    Agreement              shall operate             as     waiver thereof                       nor shall any              single    or

              exercise          of any right remedy                                         or privilege                                                                                          of the same
   partial                                                                     power                              preclude            any other or further exercise
   or    of any     other                      remedy                           or                       nor                          waiver           of any
                                   right                         power                privilege                   shall       any                                       right           remedy      power         or

                   with                                            occurrence              be     construed                      waiver           of such
   privilege                   respect          to        any                                                        as                                             right           remedy          power         or

   privilege       with        respect         to    any        other     occurrence              No     waiver         shall     be    effective          unless             it   is    in    writing     and     is



   signed     by the party               asserted          to    have     granted           such waiver




   OHS West2601          11005.6                                                                        21--
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                              Entered 01/09/21 18:45:04                                                  Page 23 of 26




                                24            Costs           and    Expenses



                              Except          as       may     otherwise             be agreed                in    writing the costs and                           expenses            including           the fees

  and     disbursements of counsel                            and    accountants                  incurred               by each        party           in     connection with the negotiation

  and     preparation         of and         the execution                 of   this      Agreement                     and     all    matters           incident          thereto           shall   be home         by
  such party



                              25              Titles          Not     to Affect            Interpretation



                              The          titles       of     paragraphs                 and          subparagraphs                    contained                   in     this     Agreement               are      for

  convenience              only       and         they       neither         fonn                          of       this                                   nor are          they        to    be     used      in    the
                                                                                                part                           Agreement
  construction           or interpretation                hereof


                              26              Execution               in   Counterparts



                              This         Agreement                may        be    executed              in      any        number of                 counterparts              by     facsimile        or    other

  written       form       of communication                         each       of which                shall        be    deemed             to    be         an   original        as    against        any party
  whose        signature        appears           thereon            and     all     of which              shall         together        constitute                one     and     the       same     instrument

  This     Agreement               shall     become             binding             when          one         or        more      counterparts                     hereof         individually           or    taken

  together       shall      bear     the signatures                 of   all    of the parties reflected                           hereon              as the signatories



                              27              Provisions              Separable


                              In     case         any     provision             in       this    Agreement                     shall     be        invalid           illegal       or        unenforceable            as

  written       such       provision          shall       be    construed                in     the     manner            most         closely           resembling               the apparent           intent       of
  the parties with                                  such provision                                     be valid
                             respect         to                                     so     as    to                           legal and           enforceable               provided               however          that

  if   there    is   no basis        for     such             construction                such provision                       shall    be        ineffective             only     to    the extent         of such

  invalidity         illegality         or    unenforceability                      and         unless             the    ineffectiveness                      of such        provision              destroys        the

  basis    of the bargain             for    one        of the parties              to    this    Agreement                     the validity                  legality      and                                of the
                                                                                                                                                                                    enforceability
                                           hereof or thereof
  remaining provisions                                                         shall      not     in    any way be affected                             or     impaired thereby


                              28              Number and Gender


                              Words used                  herein           regardless                 of the            number          and            gender            specifically          used       shall      be

  deemed        and    construed             to    include
                                                                     any     other        number               singular           or plural               and      any other            gender        masculine
  feminine or neuter                 as the context                 requires



                              29              Written           Disclosure               Statement


                              The       Issuer          and    the Trustee                acknowledge                     receipt        of Part              II   of the Servicers                  Form      ADV
  filed    with the Securities                    and    Exchange               Commission                         as                              Rule 204-3               under        the       Advisers         Act
                                                                                                                         required        by
  more than          48 hours prior               to    the date         of execution                 of   this         Agreement


                              30              Miscellaneous


                                                                In    the       event           that                    vote     is    solicited               with                      to            Collateral
                                                                                                           any                                                            respect              any
                                                                      of the Issuer                                                               from voting               any such
  Obligation          the    Servicer             on    behalf                                        shall        vote    or refrain                                                          security        in
                                                                                                                                                                                                                    any
  manner        permitted          by      the Indenture              that      the Servicer                  has determined                      in    its    reasonable          judgment            shall    be    in


  the best      interests          of the Holders of the Securities                                           In    addition           with respect                  to    any     Defaulted           Collateral

  Obligation the Servicer                          on    behalf          of the Issuer                   may            instruct       the trustee                 for    such     Defaulted           Collateral

  Obligation          to    enforce          the       Issuers rights under                            the         Underlying            Instruments                     governing            such     Defaulted




  OHS West2601        11005.6                                                                            -22-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                                                                                Entered 01/09/21 18:45:04                                                      Page 24 of 26




   Collateral           Obligation                 and         any       applicable               law         rule       or     regulation             in                 manner            permitted            under          the
                                                                                                                                                                 any
   Indenture           that     the        Servicer            has       determined               in    its    reasonable               judgment            shall        be     in    the best         interests           of the
   Holders of the Securities                                   In     the     event        any     Offer           is   made with               respect           to     any Collateral                Obligation the

   Servicer        on         behalf         of the Issuer                       may        take       such        action          as     is    permitted              by     the     Indenture              and      that      the

   Servicer        has        determined                 in     its      reasonable              judgment               shall       be     in the         best         interests           of the Holders of the

   Securities



                                                                         In      connection                 with    taking          or omitting                          action        under          the Indenture               or
                                                                                                                                                              any
   this   Agreement                   the Servicer                                               with counsel                 and                                                          on                          of such
                                                                    may          consult                                                may      rely       in    good        faith              the advice

   counsel        or   any opinion                  of counsel



                                  Any corporation                            partnership               or limited             liability         company                into    which        the Servicer               may be
   merged         or    converted                 or     with which                 it
                                                                                          may          be     consolidated                 or    any        corporation                 partnership              or    limited

   liability      company resulting from                                    any merger                 conversion               or consolidation                   to     which         the Servicer               shall     be

   party     or    any corporation                                                   or limited                                                                                      all   or                                     of
                                                          partnership                                         liability        company succeeding                             to                 substantially              all

   the servicing              and      collateral              management                    business              of the Servicer                    shall       be the successor                     to    the      Servicer

   without                    further        action            by        the      Servicer             the     Co-Issuers                 the     Trustee               the    Noteholders                  or              other
                  any                                                                                                                                                                                            any

   person or entity


                                  31                    Limitation               of Liabilities


                                  The        Issuers obligations                            hereunder are solely the corporate                                            obligations             of the Issuer                 and
   the    Servicer            shall        not       have           any       recourse            to     any       of the           directors             officers             shareholders                  members              or

                               of the Issuer                   with respect                                   claims                                                                        indemnities                     other
   incorporators                                                                            to    any                         losses           damages                 liabilities                                    or

   obligations           in     connection                     with         any     transactions                   contemplated                  hereby            except            for               claims          losses
                                                                                                                                                                                                any
   damages             liabilities           indemnities                    or other         obligations                caused           by the gross negligence                                bad    faith       or willful

   misconduct             of      such            directors               officers           shareholders                     members                or                                    of     the       Issuer              The
                                                                                                                                                            incorporators

   obligations          of the         Is   suer        hereunder                shall     be limited              to    the net         proceeds           of the Collateral                     if   any       as applied

   in   accordance              with the             Priorities             of Payments                 pursuant              to    the    Indenture               and        following           realization              of the

   Collateral          and      its
                                       application                  in    accordance               with the Indenture                                     outstanding                obligations             of the Issuer
                                                                                                                                                any
   hereunder            shall         be    extinguished                      and        shall     not        thereafter            revive             The        provisions               of     this      section         shall


   survive     termination                  of    this        Agreement


                                  32                    Consent             to    Posting         of Documents                     on    Repository


                                  The        Servicer               hereby consents                      to             the posting             of the           final       Offering           Memorandum                      the

   Indenture           and                  Hedge             Agreements                   collectively                  the       Documents                           and     the     periodic                            to     be
                                any                                                                                                                                                                         reports

   delivered           pursuant              to         the     Documents                   and        any         amendments                   or     other            modifications                  thereto         on       the

   Repository as                 such term                is    defined             in    the     Indenture              for use           in    the      manner             provided            in the       Repository
   and    ii   the display                 of     its    name on              the   Repository                in   connection therewith




   OHS West2601          11005.6                                                                                -23-
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                  Entered 01/09/21 18:45:04                      Page 25 of 26




             IN   WITNESS   WHEREOF   the parties hereto   have   executed     this   Agreement   as   of the date   first


   written   above



                                          HIGHLAND CAPITAL MANAGEMENT                             L.P     as Servicer


                                          By   Strand     Advisors   Inc     its   General Partner




                                                        avers                      Assisant
                                                                                               Secretaiy
                                           Title        Strand Advisors                Inc    General Partner                of

                                                        Highland       Capital          Management            L.P

                                           GRAYSON CLO            LTD
                                              as Issuer




                                          By
                                          Name
                                           Title




   SERVICING       AGREEMENT
Case 21-03000-sgj Doc 13-26 Filed 01/09/21                    Entered 01/09/21 18:45:04                    Page 26 of 26




               IN    WITNESS WHEREOF   the   parties hereto      have   executed   this   Agreement   as   of the date

   first   written   above



                                              HIGHLAND           CAPITAL      MANAGEMENT L.P
                                                 as   Servicer


                                             By       Strand      Advisors         Inc       its   General        Partner



                                              By_______________________
                                              Name
                                              Title




                                              GRAYSON CLO LTD
                                                 as Issuer




                                              By_______________________
                                              Name        SCOTT DAKERS
                                              Title




    SERVICING         AGREEMENT
